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MARY SHANAHAN, on behalf of herself
and all others similarly situated,

Plaintiff,
Vv.

COGENT INC.; MING HSIEH: JOHN C.
BOLGER; JOHN P, STENBIT ; and
KENNETH R. THORNTON

Defendants.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

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Plaintiff Mary Shanahan (“Plaintiff”), individually and on behalf of all
others similarly situated, by and through her attorneys, alleges the following upon
information and belief, except as to the allegations which pertain to Plaintiff,
which allegations are based upon personal knowledge, as follows:

NATURE OF THE ACTION

l. This is a shareholder class action on behalf of Plaintiff and the public
stockholders of Cogent, Inc. (“Cogent” or the “Company”) seeking injunctive and
other appropriate relief for breaches of fiduciary duty by Defendants Cogent, and
its Board of Directors (the “Cogent Board” or the “Board”), in their attempt to sell
the Company to 3M through an insufficient process and for an inadequate price.

2. Under the terms of the proposed transaction, Cogent shareholders will
receive the inadequate consideration of $10.50 per share in a transaction totaling
approximately $943 million, or approximately $430 million net of cash acquired
(the “Proposed Transaction”).

3. The Proposed Transaction is an opportunity for Cogent’s President,
CEO and Chairman Ming Hsieh to cash in on his significant holdings in the
Company. Through various entities, Mr. Hsieh controls nearly 39% of the
outstanding shares of the Company. As Chairman, President/CEO and controlling
shareholder, Defendant Hsieh effectively controls every aspect of the Company,
and has engineered a transaction that will substantially enrich him, the entities he
controls and the other officers and directors of the Company. Additionally, the
Proposed Transaction also provides Mr. Hsieh and the majority of the remaining
officers with employment in the newly formed entity following the Proposed
Transaction, putting him at odds with the common shareholders.

4, Moreover, the process undertaken by the Board was woefully
insufficient in the months immediately preceding the announcement of the
Proposed Transaction. In approving the Proposed Transaction, Cogent spurned an

offer from a competing bidder worth between $11.00 to $12.00 per share. Despite

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such interest, the Board decided to enter into the Proposed Transaction for only
$10.50 per share, a price that the Board had deemed insufficient on prior
occasions. Such a blatant missed opportunity for increased consideration
demonstrates the Board’s failure to take all reasonable steps to maximize
shareholder value.

5. Additionally, the Proposed Transaction appears to reflect the Board’s
conflicts of interest by favoring the interests of the Board over those of the
shareholders, undervaluing the Company and by including preclusive deal
protection provisions that serve no purpose other than to insulate the deal from
potential competing bids. As such, Cogent’s shareholders will be permanently and
incurably harmed if the Proposed Transaction is allowed to be consummated.

6. These breaches of fiduciary duty are further aggravated by
Defendants’ non-disclosure of numerous material facts concerning the Proposed
Transaction in the recommendation statement on Schedule 14D-9 (the “14D-9”)
with the Securities and Exchange Commission on September 10, 2010.
Defendants had full and unfettered access to all material facts concerning the
Proposed Transaction, and were actively aware of each and every fact omitted
therein. Unless these material non-disclosures are corrected, Cogent shareholders
will be entirely unable to cast a fully and fairly informed vote on the Proposed
Transaction, and will be permanently and irreversibly harmed as a consequence.

JURISDICTION AND VENUE

7. The claims asserted herein arise under Section 14(e) of the Exchange
Act, 15 U.S.C. §§78n(e), as well as SEC Rule 14D-9, 17 C.F.R. § 240.14d-101.
This Court has jurisdiction over the subject matter of this action pursuant to
Section 27 of the Exchange Act, 15 U.S.C. 78aa and 28 U.S.C. §§ 1331. This
Court also has jurisdiction over the subject matter of this action pursuant to 28
U.S.C. §1332(a)(2) in that plaintiff and defendants are citizens of different states

and the matter in controversy exceeds $75,000, exclusive of interest and costs.

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This Court also has jurisdiction over this action pursuant to 15 U.S.C.
§78bb(f)(3)(A)(i), because it is a class action based upon the statutory or common
law of Delaware, Cogent’s state of incorporation, and thus may be maintained in
federal court. This Court has supplemental jurisdiction under 28 U.S.C. § 1367.

8. Venus is proper in this District pursuant to 28 U.S.C. § 1391 because
defendant Cogent has its principal place of business in this District. Plaintiff's
claims arose in this District, where most of the actionable conduct took place,
where most of the documents are electronically stored and where the evidence
exists, and where virtually all the witnesses are located and available to testify at
the jury trial permitted on these claims in this Court. Moreover, each of the
Individual Defendants, as Company officers and/or directors, has extensive
contacts with this District.

PARTIES

9. Plaintiff Mary Shanahan owns shares of Cogent common stock and
has owned such shares at all relevant times, as reflected in the certification filed
herewith. Plaintiff is a resident of the state of Wisconsin.

10. Cogent is a Delaware corporation that is headquartered at 639 North
Rosemead Blvd., Pasadena, California. Cogent is a provider of automated
fingerprint identification systems (AFIS) and other fingerprint biometrics solutions
to governments, law enforcement agencies and other organizations worldwide.
Cogent designs and develops an integrated AFIS solution consisting of its
fingerprint biometric software, together with optimized hardware and professional
services. Cogent is named as a necessary party.

11. Defendant Ming Hsieh (“Defendant Hsieh”) has served as the
Company’s Chief Executive Officer, President and Chairman of the Board of
Directors since 1990 and at all relevant times. Upon information and belief,
Defendant Hsieh is a resident of the State of California.

12. Defendant John C. Bolger has served as a Director for the Company

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since March 2004 and at all relevant times. Upon information and _ belief,
Defendant Bolger is a resident of the State of California.

13. Defendant John P. Stenbit has served as a Director for the Company
since April 2004 and at all relevant times. Upon information and belief, Defendant
Stenbit is a resident of the Commonwealth of Virginia.

14. Defendant Kenneth R. Thornton has served as a Director for the
Company since June 2004 and at all relevant times. Upon information and belief,
Defendant Thornton is a resident of the State of Maryland.

15. The defendants named above in paragraphs 11-14 are collectively
referred to herein as the “Individual Defendants.” The Individual Defendants, as
officers or directors of Cogent, or both, have a fiduciary relationship with Plaintiff
and other public shareholders of Cogent, and owe them the highest obligations of
good faith, fair dealing, loyalty, and due care.

CLASS ACTION ALLEGATIONS

16. Plaintiff brings this action pursuant to Fed. R. Civ. P. 23 on behalf of
herself and all other shareholders of the Company (except defendants and any
person, firm, trust, corporation, or other entity related to or affiliated with
defendants), who are or will be threatened with injury arising from defendants’
actions, as more fully described herein (the “Class”).

17. This action is properly maintainable as a class action.

18. The Class is so numerous that joinder of all members is impracticable.
According to the Company’s SEC filings, as of August 5, 2010, Cogent had
88,840,932 outstanding.

19. There are questions of law and fact which are common to the Class
including, inter alia, the following:

a. Have the Individual Defendants breached their fiduciary duties
to Plaintiff and the other members of the Class;

b. Are the Individual Defendants, in connection with the Proposed

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Transaction, pursuing a course of conduct that does not
maximize the Company’s value in violation of their fiduciary
duties;

C. Have Defendants disclosed all material information in
connection with the tender offer; and

d. Is the Class entitled to injunctive relief or damages as a result of
Defendants’ wrongful conduct?

20. Plaintiff's claims are typical of the claims of the other members of the
Class and Plaintiff does not have any interests adverse to the Class.

21. Plaintiff is an adequate representative of the Class, has retained
competent counsel experienced in litigation of this nature, and will fairly and
adequately protect the interests of the Class.

22. The prosecution of separate actions by individual members of the
Class would create a risk of inconsistent or varying adjudication with respect to
individual members of the Class which would establish incompatible standards of
conduct for the party opposing the Class.

23. Defendants have acted on grounds generally applicable to the Class
with respect to the matters complained of herein, thereby making appropriate the
relief sought herein with respect to the Class as a whole.

THE INDIVIDUAL DEFENDANTS’ FIDUCIARY DUTIES

24. By reason of the Individual Defendants’ positions with the Company
as officers or Directors, or both, they are in a fiduciary relationship with Plaintiff
and the other public shareholders of the Company and owe them, as well as the
Company, a duty of highest good faith, fair dealing, loyalty, and full, candid, and
adequate disclosure, as well as a duty to maximize shareholder value. They are
required to exercise good faith and subordinate their own personal interests to
those of the public stockholders where their interests conflict. Additionally,

because the Proposed Transaction is an all cash deal, it necessarily involves a

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change of control. As such, Defendants owe the Company’s shareholders a duty to
maximize shareholder value in connection with the sale of the corporation.

25. As alleged in detail below, the Individual Defendants have breached
their fiduciary duties to the Company’s public shareholders by agreeing to the
Proposed Transaction.

SUBSTANTIVE ALLEGATIONS

26. Cogent is a Delaware corporation that is headquartered at 639 North
Rosemead Bivd., Pasadena, California. Cogent is a provider of automated
fingerprint identification systems (AFIS) and other fingerprint biometrics solutions
to governments, law enforcement agencies and other organizations worldwide.
Cogent designs and develops an integrated AFIS solution consisting of its
fingerprint biometric software, together with optimized hardware and professional
services. Cogent is named as a necessary party.

27. The Company has performed remarkably well amidst the recent
global recession. As recently as August 5, 2010, the Company touted its excellent
performance and growth potential in a press release announcing its financial results
for the second quarter ended June 30, 2010. In this press release, the Company
announced second quarter 2010 revenues of $25.4 million and net income (non-
GAAP) for the second quarter of 2010 was $3.4 million. As Defendant Hsieh
announced:

Our order flow in the first half of the year has been very strong to

date, and we expect to start seeing the benefit of these orders in the

second half of the year and 2011...These orders, combined with our

year-end backlog of over $200.0 million, give us good visibility and
confidence that we are well positioned to achieve our financial targets

for 2010 with a strong second half of the year. While gross margins

were impacted by product mix in our initial roll-out for the U.K. Post

Office, we expect them to rebound and accelerate starting in the third

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quarter. During our second quarter we repurchased approximately

$6.7 million of our stock, as we remain confident in our business and

our ability to capitalize on both the near and longer term opportunities

in biometrics.

28. Cogent also stands poised to continue its significant growth from sales
of the Company’s AFIS services, which typically consist of Programmable
Matching Accelerator (“PMA”) servers and other AFIS equipment, including
workstations and live-scans, bundled with proprietary software. The Company
markets its services primarily to U.S. and foreign government agencies and law
enforcement agencies, particularly to the Department of Homeland Security
(“DHS”), where the Company derives the most significant portion of its revenue.
The DHS uses Cogent’s services in connection with the implementation of the
United States Visitor and Immigrant Status Indicator Technology, or US-VISIT,
program, and the Company has stated that it anticipates the DHS will account for a
significant portion of its revenues for the foreseeable future.

29. The Company has also experienced continued demand from other
governments as they deploy AFIS solutions at points of entry and exit, including
borders, seaports and airports, and in connection with national identification
programs. In fact, Cogent was recently awarded a contract with the U.K. National
Mobile Identification Project to provide a full AFIS, an online ordering system and
biometric capture devices to suit a broad range of policing needs in the U.K.
Cogent also recently won a contract to provide an AFIS for the New York State
Office of Temporary and Disability Assistance.

30. Thus, in light of the Company’s future prospects and expectations
outlined herein, the Directors have no valid or pressing reason to sell the Company
at the low value contemplated in the Proposed Transaction (as explained below).

Defendants Have Failed to Maximize Shareholder Value

31. On August 30, 2010, the Company issued a press release announcing

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that Cogent had unanimously approved an agreement under which 3M would
acquire the Company for approximately $10.50 per share in a transaction totaling
approximately $943 million, or approximately $430 million net of cash acquired.
This press release stated that a subsidiary of 3M would commence a tender offer to
purchase all outstanding shares of Cogent within ten business days of the press
release. The press release also stated that Defendant Hsieh and “certain entities
affiliated with him” agreed to tender their shares in the offer and that the Proposed
Transaction was expected to close during the fourth quarter of the year.

32. The offer price of $10.50, however, provides inadequate consideration
to Cogent shareholders. As reported through Yahoo! Finance, at the time the
Proposed Transaction was first announced, the median target price of the stock
from the reports of analysts covering Cogent stock was $13.50 a share. Thus, the
price offered in the Proposed Transaction offers no premium to Cogent
shareholders but instead provides more than a 22% discount to the median target
price of numerous analysts.

33. Moreover, at least one analyst quoted by Yahoo! Finance set a high
target price of $16.00 a share. These target prices, which are significantly higher
than the consideration offered in the Proposed Transaction, clearly reflect the
ongoing improvements in the Company’s operations and financial results,
particularly due to the potential of growth in the Company’s products and business
prospects (as discussed above). These target prices also provide objective
confirmation that the consideration offered to Cogent shareholders in connection
with the Proposed Transaction is insufficient.

34. Further, Wall Street analysts have viewed the Proposed Transaction as
a “steal” for 3M. As noted in a Los Angeles Times article entitled “3M gets ‘a

steal’ in Cogent buyout, and some investors wonder why,”’ the Proposed

 

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Transaction has sparked a negative reaction from Cogent investors and analysts
who believe that Cogent is “selling the business too cheap.” According to the
article, Brian Ruttenbur (“Ruttenbur”), an analyst following Cogent at brokerage
Morgan Keegan & Co., also stated that 3M “got a steal at this price,” particularly
since 3M is paying only $430 million for a business “sitting with $513 million in
cash on its balance sheet.” The article also noted that Cogent “operates in an
industry that is expected to post robust growth over the long run as national
governments, local law enforcement agencies and companies focus on enhancing
security,” particularly from the DHS. Similarly, Benchmark Co LLC analyst
Josephine Millward also said the deal values Cogent at about 6.6 times estimated
2011 earnings before special items, whereas other deals in the homeland security
and defense sectors: have produced multiples of at least 8. Lazard Capital Markets
analyst Joel Fishbein also stated that the Proposed Transaction undervalues
Cogent, given its “significant cash flow, defensible market opportunity, growing
backlog” and strong balance sheet.

35. Some of Cogent’s largest shareholders have also publicly announced
their opposition to the consideration offered in the deal. According to a recent Los
Angeles Times article entitled “Big shareholder of Cogent opposes buyout terms,”
Cogent’s third-largest shareholder, Pointer Capital, publicly announced that it
would “vigorously oppose” the Proposed Transaction because the “bid price
significantly undervalues the business.” According to the article, Pointer Capital
wrote a letter to the Board that stated its belief that Cogent was worth at least $15 a

share, particularly in light of “Cogent management’s recent upbeat views of the

 

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* http://latimesblo gs.latimes.com/money_co/2010/ 08/cogent-3m-takeover-offer-pointer-capital-
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company’s long-term prospects, and the cash flow Cogent is expected to generate
just over the next 18 months.”

36. Based on the foregoing, it is apparent that Defendants have failed to
fulfill their obligation to demonstrate that they have taken all reasonable steps to
maximize shareholder value. Moreover, Cogent has continued to perform well
compared to its competitors in its industry and the overall market in light of the
fact that equities valuations continue to be temporarily depressed due to global
economic conditions. Clearly, Cogent’s value as an ongoing business is greater
than the consideration to be paid in the Proposed Transaction. As such, the
Proposed Transaction is inadequate to Cogent’s shareholders and represents a
significant discount to the Company’s actual value in the marketplace.

Defendants Have Agreed to Preclusive Deal Protection Devices

37. As part of the Merger Agreement, the Individual Defendants also
agreed to certain onerous and preclusive deal protection devices that operate
conjunctively to make the Proposed Transaction a fait accompli and ensure that no
competing offers will emerge for the Company. These provisions will eliminate or
hinder the possibility of the proper maximization of Cogent’s shareholder value.

38. The Merger Agreement contains a strict “no shop” provision (Section
6.8) prohibiting the members of the Cogent Board from taking any affirmative
action to comply with their fiduciary duties to maximize shareholder value, with
limited exceptions.

39. The Defendants have also given 3M an irrevocable option to purchase
newly issued shares from Cogent in an amount necessary to acquire one share
more than the 90% required for a short form merger. Section 1.8 of the Merger
Agreement refers to this irrevocable option as the “Top-Up Option.” This Top-Up
Option guarantees the expeditious sale of Cogent to 3M without requiring a
shareholder vote. It also raises the specter of the possibility that Cogent will be

compelled to issue tens of millions of dollars worth of Cogent stock to 3M in

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effectuating the transaction, thereby potentially substantially diluting non-
tendering shareholders’ interests and ‘potentially dramatically prejudicing and
devaluing the shareholders’ appraisal rights.

40. In addition to the “no shop” provision and “Top-Up Option”, the
Merger Agreement includes a $28,300,000 termination fee should the Board
choose to accept a superior deal. The termination fee in combination with the
other preclusive deal protection devices will all but ensure that no competing offer
will be forthcoming.

41. Accordingly, Plaintiff seeks injunctive and other equitable relief to
prevent the irreparable injury that Company shareholders will continue to suffer
absent judicial intervention.

The Board Has Conflicts of Interest With the Cogent Shareholders

42. A majority of the Individual Defendants has clear and material
conflicts of interest and is acting to better their own interests and the interests of
Defendant Hsieh and Cogent’s other senior managers at the expense of the
Company’s public shareholders.

43. The Individual Defendants also have conflicts of interest that put them
at odds with the public shareholders. Indeed, the Los Angeles Times quoted
analyst Ruttenbur as saying that Hsieh simply “got tired of being a public-company
CEO” and going public allowed Hsieh to cash out of huge portion of his holdings
in Cogent—which Ruttenbur estimates to be at least $350 million since 2004.
Hsieh himself still directly owns nearly 39% of Cogent, or 34.4 million shares
worth $361 million if the 3M deal goes through.” The article also stated
Ruttenbur’s belief that Hsieh owns additional stock via trust accounts.

44, Additionally, other Directors and executives will receive financial
benefits from the Proposed Transaction that are not shared with Cogent’s public
shareholders. On August 29, 2010, Defendant Hsieh, Paul Kim (Cogent’s Chief

Financial Officer), James Jasinski (Cogent’s Executive Vice President) and

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Michael Hollowich (another Executive Vice President of Cogent) entered into
retention agreements with 3M to continue their employment with Cogent if the
Proposed Transaction is consummated. Under Defendant Hsieh’s retention
agreement, he will receive a retention bonus of $153,000, payable in two
installments such that one-third of this amount is payable on the first anniversary
of the Commencement Date (as defined in the Merger Agreement) and the
remaining amount is payable on the second anniversary of the Commencement
Date as long as he remains employed with the Company. If Defendant Hsieh’s
employment with the Company ends before the end of the Transition Period (as
defined in the Merger Agreement) due to his termination without cause or his death
or disability, he is entitled to receive the remaining unpaid portion of the retention
bonus. Kim, Jasinski, and Hollowich have similar retention agreements with their
retention bonus payments equal to $153,000 for Kim, between $36,000 and
$126,000 for Jasinski, and between $36,000 and $126,000 for Hollowich.

45. Further, under the Proposed Transaction, each outstanding and
unexercised option will be accelerated and will be converted into cash
corresponding to the consideration offered in the Proposed Transaction. This will
greatly accelerate the Defendants’ opportunity to monetize their stake in Cogent,
creating a conflict that prevents them from adequately representing the public
shareholders. The Individual Defendants are all set to receive large sums of money
in exchange for tendering shares received through exercising options and the
vesting of restricted stock units.

46. The Merger Agreement also provides that any outstanding option to
acquire shares, whether vested or unvested, shall vest and become fully exercisable
immediately so that the shares may be tendered in the Proposed Transaction.
Defendant Bolger will receive $4,700 from vested stock options; Defendant Stenbit
will receive $244,700 from vested stock options; Defendant Thorton will receive

$244,700 from vested stock options.

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47. The Merger Agreement also provides that outstanding restricted stock
units (“RSUs”) will fully vest and convert into the right to receive the merger
consideration. Defendant Hsieh will receive $945,000 from his RSUs; Defendant
Bolger will receive $84,000 from his RSUs; Defendant Stenbit will receive
$84,000 from his RSUs; Defendant Thorton will receive $84,000 from his RSUs.

48. Additionally, under the terms of the Merger Agreement, Defendant
Hsieh and certain entities he controls are slated to receive a windfall of
approximately $360,884,633 in the Proposed Transaction.’ Defendant Hsieh and
these entities hold approximately 34,369,965 shares of Cogent stock, representing
approximately 38.9% of Cogent’s outstanding shares. On August 29, 2010,
Defendant Hsieh and these entities entered into a Voting and Tender Agreement
whereby they agreed to tender their shares in the Proposed Transaction. Thus,
38.9% of total Cogent shares outstanding will be tendered.

Defendants Failed to Engage in a Process
Sufficient to Maximize Shareholder Value

49. Cogent has been the target of several potential buyers over the past
two years. Since Cogent came into contact with 3M regarding a possible
transaction, it was in discussions with at least six other companies who expressed
varying levels of interest in a possible transaction. It is with regard to the
Company’s dealings with “Company D” (as defined in the 14D-9) that the Board
breached its fiduciary duty to maximize shareholder value.

50. The process undertaken by the Board was woefully insufficient in the
months immediately preceding the announcement of the Proposed Transaction. As

explained in the background section of the 14D-9, Cogent received 3M’s initial

 

; According to the Voting and Tender Agreement entered into on August 29, 2010, Defendant
Hsieh owns 15,259,965 shares of Cogent stock personally, serves as a trustee for 10,139,128
shares held in the Ming Hsieh Revocable Family Trust dtd 1 1/01/2006, serves as a trustee for
5,250,000 shares held in the Ming Hsieh Revocable Family Trust dtd 11/02/2006, serves as a
trustee for the 1,860,436 shares held in the Tiffany Hsieh Irrevocable Trust, and serves as a
trustee for 1,860,436 shares held in the Pauline Hsieh Irrevocable Trust.

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offer of $10.50 per share on July 2, 2010. Shortly thereafter, the Board met and
advised 3M that the $10.50 per share price was not a sufficient price and would
have to be improved.

51. Meanwhile, Company D made a preliminary non-binding indication
of interest in the range of $11.00 to $12.00 per share on August 17, 2010. After
receipt of this offer, the Board met on August 18, 2010 and again instructed Credit
Suisse to inform 3M of Company D’s proposal and that the $10.50 offer was not
acceptable to Cogent.

52. Despite Cogent’s position that 3M’s price was insufficient, and its
preliminary indication of interest from Company D that could potentially provide
$1.50 more in consideration per share, the Board inexplicably decided to enter into
merger negotiations with 3M on August 20, 2010 while negotiations with
Company D were pending.

53. Rather than encourage additional bids, this decision by the Cogent
Board effectively locked in Cogent to the Proposed Transaction price — a price that
the Cogent Board and its financial advisors just two days prior believed was “not
acceptable.” Further locking in Cogent to the 3M deal, between August 24 and
August 29, 2010, the Company successfully negotiated retention and incentive
arrangements with seven of eight senior Cogent employees. These negotiations
were held while the Company was purportedly still interested in a deal with
Company D. The Merger Agreement negotiations and retention and incentive
arrangements, however, essentially foreclosed any chance of the Board backing out
to accept a superior proposal from Company D, and rendered the Proposed
Transaction with 3M a fait accompli.

The Materially Misleading And/or Incomplete Disclosure Documents

54. Defendants are also breaching their fiduciary duty of candor to the

public shareholders of Cogent by failing to disclose material information in the

14D-9. Defendants had full and unfettered access to all material facts concerning

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CLASS ACTION COMPLAINT

 
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the Proposed Transaction, and were actively aware of each and every fact omitted
therein.

55. The Individual Defendants acted with scienter in that they (a) had
access to all documents and information concerning the Proposed Transaction; (b)
directed and approved the filing of the 14D-9; (c) knew or with deliberate
recklessness disregarded that the public documents and statements issued or
disseminated in the name of the Company were materially incomplete or
misleading; (d) knew or with deliberate recklessness disregarded that such
statements of documents would be issued or disseminated to the investing public;
and (¢) knowingly or with deliberate recklessness participated or acquiesced in the
issuance of dissemination of such statements or documents as primary violations of
the federal securities laws.

56. Most notably, the 14D-9 fails to disclose why the Cogent Board and
its financial advisors decided to accept the $10.50 per share consideration in the
Proposed Transaction, despite deciding on at least two occasions that the price was
insufficient and would have to be improved. The Board had decided as recently as
August 18, 2010 that the $10.50 price was not acceptable, yet on August 29, 2010
— a mere week and a half later — decided that the price was acceptable and
recommended the Proposed Transaction. Such an about face is particularly galling
in light of the existence of another bidder prepared to offer significantly more, and
disclosure of why the Board recommended the Proposed Transaction is warranted.

57. The Proxy also completely fails to disclose the underlying data
concerning the methodologies, projections, key inputs and multiples relied upon
and observed by Credit Suisse, the Company’s financial advisor, so that
shareholders can properly assess the credibility of the various analyses performed
by Credit Suisse and relied upon by the Board in recommending the Acquisition.
With regard to Credit Suisse, the Proxy is deficient and should provide, inter alia,

the following:

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CLASS ACTION COMPLAINT

 

 
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The criteria, supporting data, summary schedules and analysis
utilized by Credit Suisse to select the companies that were
deemed similar to Cogent and used in the Selected Public
Traded Companies Analysis.

The criteria, supporting data, summary schedules and analysis
utilized by Credit Suisse in the EBITDA and enterprise value
analysis mentioned in the Selected Public Traded Companies
Analysis.

The criteria, supporting data, premiums paid, summary
schedules and analysis utilized by Credit Suisse to select the
transactions that were deemed similar to the acquisition of
Cogent and used in the Selected Transactions Analysis.

The underlying data, supporting schedules and calculations for
the LTM EBITDA calculations and how they arrived at the

implied per share calculations for the target companies in the

_ Selected Transactions Analysis.

The underlying data and calculation of “unlevered after-tax free
cash flows” used in the Discounted Cash Flow Analysis.

The “free cash flows” and the supporting data that the Company
is expected to generate in the financial forecasts during fiscal
years 2010 through 2013.

The underlying criteria, supporting data and analysis used to
select discount rates ranging from 11.0% to 15% used in the
Discounted Cash Flow Analysis.

The underlying criteria, supporting data and analysis used to
compute the Implied Per Share Equity Reference Range for the
Company in the Discounted Cash Flow Analysis.

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CLASS ACTION COMPLAINT

 
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1. The underlying data and calculation of the net earnings and the
adjustments necessary to compute the unlevered after-tax free
cash flows.

58. The 14D-9 fails to disclose material information concerning Credit
Suisse. In particular, the 14D-9 fails to disclose the specific services provided by
Credit Suisse to Cogent in the past as well as the fees received for such services. It
is material for shareholders to be informed of any financial and economic interests
of Credit Suisse may have in the Proposed Transaction or in the parties involved.

COUNT I
Breach of Fiduciary Duty — Failure to Maximize Shareholder Value
(Against All Individual Defendants)

59. Plaintiff repeats and realleges each allegation set forth herein.

60. As Directors of the Company, the Individual Defendants stand in a
fiduciary relationship to Plaintiff and the other public stockholders of the Company
and owe them the highest fiduciary obligations of loyalty and care. The Individual
Defendants’ agreement to the Proposed Transaction will result in change of
control of the Company which imposes fiduciary responsibilities to maximize the
Company’s value for the benefit of the stockholders and requires enhanced
scrutiny by the Court.

61. As discussed herein, the Individual Defendants have breached their
fiduciary duties to the Company’s shareholders by failing to engage in an adequate
sale process, by agreeing to a transaction that undervalues the Company, and by
agreeing to preclusive deal protection provisions that will greatly reduce the
possibility of the emergence of a superior offer.

62. As aresult of the Individual Defendants’ breaches of their fiduciary
duties, Plaintiff and the Class will suffer irreparable injury in that they have not
and will not receive their fair portion of the value of the Company’s assets and will

be prevented from benefiting from a value-maximizing transaction.

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CLASS ACTION COMPLAINT

 
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63. Unless enjoined by this Court, the Individual Defendants will continue
to breach their fiduciary duties owed to Plaintiff and the Class, and may
consummate the Proposed Transaction, to the irreparable harm of the Class.

64. Plaintiff and the Class have no adequate remedy at law.

COUNT I
Claim for Violations of Section 14(e) of the Exchange Act
(Against Cogent and the Individual Defendants)

65. Plaintiff repeats and realleges each allegation set forth herein.

66. Cogent and the Individual Defendants have causes the 14D-9 to be
issued with the intention of soliciting shareholder support of the Proposed
Transaction.

67. Section 14(e) of the Exchange Act requires full and complete
disclosure in connection with tender offers.

68. The 14D-9 violates Section 14(e) because it omits material facts,
including those set forth above. Moreover, in the exercise of reasonable care,
Cogent and the Individual Defendants had full and unfettered access to all material
facts in connection with the Proposed Transaction, and had active knowledge that
thel4D-9 is materially misleading and omits material facts that are necessary to
render them non-misleading.

69. The misrepresentations and omissions in the 14D-9 are material to
Plaintiff, and Plaintiff will be deprived of her entitlement to make a fully informed
decision if such misrepresentations and omissions are not corrected prior to the
expiration of the Proposed Transaction.

COUNT I
Breach of Fiduciary Duty of Candor

(Against All Individual Defendants)
70. Plaintiff, on behalf of himself and the other members of the Class,

reallege and incorporate by reference each and every allegation set forth in the

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CLASS ACTION COMPLAINT

 

 

 
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preceding paragraphs as though alleged in full herein.

71. The fiduciary duties of the Individual Defendants in the circumstances
of the Proposed Transaction require them to disclose to Plaintiff and the Class all
information material to the impending voting decision confronting Cogent’s
shareholders.

72. As set forth above, the Individual Defendants have breached their
fiduciary duties through materially inadequate disclosures and material disclosure
omissions.

73. As a result, Plaintiff and the Class members are being harmed
irreparably.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment individually and on behalf of
the Class, as follows:

A. Declaring that this action is properly maintainable as a class action;

B. — Enjoining the Individual Defendants, their agents, counsel, employees
and all persons acting in concert with them from consummating the Proposed
Transaction, unless and until the Company adopts and implements a fair
transaction that does not irreparably harm the Company’s shareholders;

C. Awarding Plaintiff and the Class such damages as may be proved at
trial including pre- and post-judgment interest,

D. Awarding Plaintiff the cost and disbursements of this action, including
reasonable attorneys’ and experts’ fees; and

E. Granting such other and further relief as this Court may deem just and
proper.

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CLASS ACTION COMPLAINT

 

 

 
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Dated: September 16, 2010 FINKELSTEIN THOMPSON LLP

Afro -&——
Mark Punzalah

 

Rosemary M. Rivas

100 Bush Street, Suite 1450
San Francisco, California 94104
Telephone: 415.398.8700
Facsimile: 415.398.8704

Counsel for Plaintiff Mary Shanahan

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CLASS ACTION COMPLAINT

 

 
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JODGE FOR DISCOVERY

This case has been assigned to District Judge R. Gary Klausner and the assigned
discovery Magistrate Judge is Fernando M, Olguin.

The case number on all documents filed with the Court should read as follows:
~Cv10- 6911 RGK (FHOx)
Pursuant to General Order 05-07 of the United States District Court for the Central

District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

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NOTIGE TO COUNSEL,

A copy of this notica must be served with the summons and complaint on all defendants (if a removal action Is
filed, a apy of this notice must be served on ail plaintiffs).

Subsequent documents must be filed at the follawing loaation:

Western Division [_] Southern Division [_] Eastern Division
312 N. Spring St., Rm. G-8 411 Wost Fourth St, Rm, 1-053 3470 Twelfth St, Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Fallura ta file at the proper location will rasult In your documents being retumed to you.

 

GV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
Case 2:10-cv-06911-RGK-FMO Document1 Filed 09/16/10 Page 23 0f 24 Page ID#:23

 

— UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIVORNIA ' moo
CIVIL COVER SHEET “ , °
T @) PLAINTIVES (Check box if you are representing yourself oO) DEVE)

Cogent Inc; Ming Hsish; John C, Bulgar, John P, Sunbie and Kesneth R

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yourself, provide same.)
Mark Funzalun (CA SBN: 247599)
FINKELSTEIN THOMPSON LLY
190 Bush St, Suits 1450, San Francisco, CA 94104, Tel,: 415-398-8700
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AFTIR COMPLETING THE FRONT SIDE OF FORM Cy-71, COMPLETE TEE INFORMATION REQUESTED BELOW.
CV-71 (08/08) CIVIL COVER SHEET Page | af2

 

 
Case 2:10-cv-06911-RGK-FMO Document1 Filed 09/16/10 Page 24o0f 24 Page ID #:24

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

VUI(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? No CD Yes
If yes, list case number(s):

 

VIII(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? m No [1 Yes
If yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) A. Arise from the same or closely related transactions, happenings, or events; or
CB. Call for determination of the same or substantially related or similar questions of law and fact; or
CC. For other reasons would entail substantial duplication of labor if heard by different judges; or
OD. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

 

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides.
C]__ Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go to item (b).

 

County in this District:* California County outside of this District: State, if other than California; or Foreign Country

 

Wisconsin

 

 

 

 

(b) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides.
(]___ Check here if the government, its agencies or employees is a named defendant. If this box is checked, go to item (c).

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

 

Los Angeles County

 

 

 

 

(c) List the County in this District, California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land involved.

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

 

Los Angeles County

 

 

 

 

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Nate: In land condemnation cases, use the location of the tract of Jand involved

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X. SIGNATURE OF ATTORNEY (OR PRO PER): L, foc | Date 9/16/2010

Notice to Counsel/Parties: The CV-71 (JS-44) dui calor Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program, (42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C, 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended, (42
U.S.C. (g))

 

CV-71 (05/08) CIVIL COVER SHEET Page 2 of 2
